Case 16-40271-can11       Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54      Desc
                                 Exhibit A Page 1 of 10


                                       Exhibit 1

                                      Cover Page




NOTICE OF PROPOSED SETTLEMENT                                     Exhibit 1 - Cover Page
Gardere01 - 11250462v.1
        Case 16-40271-can11            Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54                         Desc
                                              Exhibit A Page 2 of 10

                                            SETTLEMENT AGREEMENT

                THIS SETTLEMENT AGREEMENT (this “Settlement Agreement”) is made by and
        between: (1) Areya Holder Aurzada, as Liquidating Trustee of the Liquidating Trust (the
        “Trustee”); and (2) Forum Energy Technologies, Inc. dba Forum Valve Solutions (“Forum”) and
        Forum US, Inc.1 (“Forum US”) (Forum and Forum US may be collectively referred to herein as
        the “Defendants”). Hereinafter, Trustee and Defendants are referred to collectively as the
        “Parties”.

               WHEREAS, on February 7, 2016, Mid-States Supply Company, Inc. (the “Debtor”) filed
        a voluntary petition for relief under chapter 11, title 11 of the United States Code (the “Code”) in
        the United States Bankruptcy Court for the Western District of Missouri (the “Court”), thereby
        commencing a bankruptcy case under Case No. 16-40271 (CAN) (the “Case”);

                WHEREAS, on December 21, 2016, the Court entered its Order: (A) Confirming Joint
        Chapter 11 Plan of Liquidation and (B) Approving Corrected Disclosure Statement with Respect
        to Joint Chapter 11 Plan of Liquidation [Dkt. 586] (“Confirmation Order”), confirming that
        certain Joint Chapter 11 Plan of Liquidation filed at Docket Number 555 (“Plan”);

               WHEREAS, the effective date of the Plan (the “Effective Date”) occurred on January
        20, 2017 [Dkt. Nos. 600, 602];

                WHEREAS, in accordance with the Plan and Confirmation Order, the Liquidating Trust
        (the “Trust”) was established effective on the Effective Date. Also on the Effective Date, as
        contemplated by the Plan and Confirmation Order, the Debtor and the Trustee entered into that
        certain Liquidating Trust Agreement;

               WHEREAS, under Sections 6.4, 6.5 and 6.8 of the Plan, on the Effective Date, the
        “Trust Assets” (as defined in the Plan), including Causes of Action arising under chapter 5 of the
        Bankruptcy Code, were transferred to the Trust, and the Trustee was appointed to serve as the
        Trustee and is authorized and has exclusive standing, among other things, to prosecute, settle,
        dismiss, abandon, or otherwise dispose of Causes of Action under chapter 5 of the Bankruptcy
        Code, including, without limitation, the Transfers subject to this Settlement Agreement (the
        “Avoidance Actions”);

                WHEREAS, under the terms of the Plan, an order of the Court is not required for the
        Trustee to take the following actions, and the Trustee is authorized under the Confirmation Order
        and the Plan, without a Court order, to: (i) enter into this Settlement Agreement, and (ii) perform
        all terms set forth in this Settlement Agreement;

                WHEREAS, the Trustee asserts that the Defendants received value from the Debtor via
        certain transfer(s) as set forth in Exhibits A and B attached hereto totaling $544,222.86 (the
        “Transfers”). The Trustee alleges that the Transfers are avoidable under the provisions of
        Sections 547-550 of the Code;



        1 ABZ Valves & Controls Inc. (“ABZ”) was merged into Forum US, Inc. on December 31, 2011 (the “ABZ
        Acquisition”). As a result of the ABZ Acquisition, and for purposes of this Settlement Agreement, Forum US is the
        successor in interest to ABZ and therefore acquires any and all rights and interests ABZ would have in connection
        with this Settlement Agreement, specifically including the Claims.
4840-9715-9008.1                                               1
        Case 16-40271-can11          Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54                   Desc
                                            Exhibit A Page 3 of 10

               WHEREAS, the Defendants deny any liability and deny the Trustee’s allegations that
        the Transfers are avoidable under the provisions of Section 547-550 of the Code;

                WHEREAS, following good faith negotiations, Trustee and Defendants desire to settle
        and compromise this matter, on the terms set forth herein, to avoid the cost and uncertainty of
        further litigation; and

               WHEREAS, in full and final settlement of Defendants’ alleged liability for the Transfers
        under Chapter 5 of the Code, Defendants have agreed to waive and fully release (i) allowance of
        any claims in this Case and (ii) receipt of distribution of any assets in this Case, and Trustee has
        agreed to fully release Defendants from all liability for the Transfers.

                   NOW THEREFORE, the Parties agree as follows:

        1.     Recitals. The above recitals support the basis for this Settlement Agreement and are each
               incorporated herein and made a part hereof for all purposes. The Parties each hereby
               acknowledge that the above recitals constitute truthful, correct and accurate representations
               and warranties. The Parties each are hereby permitted to rely on the accuracy of the above
               recitals. The Parties are not required to conduct any investigation regarding the accuracy of
               the above recitals. The recitals are a substantive, contractual part of this Settlement
               Agreement.

        2.     Settlement. In exchange for the mutual releases described in Section 5 of this Settlement
               Agreement, Defendants hereby acknowledge and agree that: (A) any and all claims or
               proofs of claim: (i) filed in the Claims Register of this Case by, in favor of, or on behalf of
               Defendants; (ii) delivered to the Claims Agent in this Case by, in favor of, or on behalf of
               Claimant; or (iii) otherwise submitted, listed in the Debtor’s Schedules of Assets and
               Liabilities [Dkt. 316] (as may be amended from time to time), or requested in any manner
               in this Case seeking allowance or payment of any claims in favor of Defendant; specifically
               including, without limitation, Claims Agent Claim No. 988 in the amount of $1,791,697.89
               submitted by Defendants to the Claims Agent in this Case on or about October 3, 2016,
               (collectively, the “Claims”) shall be deemed disallowed and expunged in their entirety; and
               (B) Defendants shall not be entitled to receive any money, value or other form of
               distribution of any property of the bankruptcy estate or the Liquidating Trust in this Case.

        3.     Bankruptcy Court Approval Required. Pursuant to Section 7.5 of the Plan, because the
               value of the claims asserted in this case exceeds $100,000, the Trustee is required to seek
               Bankruptcy Court approval of the terms of this Settlement Agreement.

        4.     Settlement Effective Date. This Settlement Agreement shall become effective on the first
               date when (A) it has been duly executed and delivered by both Parties (such date, the
               “Settlement Effective Date”); and (B) approved by the Bankruptcy Court pursuant to
               Section 7.5 of the Plan.

        5.     Mutual Releases. Both Parties acknowledge this Settlement Agreement is intended to fully
               resolve the Defendants’ liability, if any, for the Transfers made by the Debtor to the
               Defendants. On the Settlement Effective Date, Trustee and Defendants, do forever release,
               acquit and forever discharge each other and all of their respective owners, partners,
               representatives, insurers, guarantors, subsidiaries, affiliates, affiliated companies, as well as
               their past and present directors, officers, members, managers, employees, partners and
4840-9715-9008.1                                           2
        Case 16-40271-can11          Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54                  Desc
                                            Exhibit A Page 4 of 10

               spouses of partners, parents, subcontractors, attorneys, professionals, and agents, and all of
               their respective successors, predecessors, and assigns, from any and all liability of any kind
               whatsoever, including all claims, cause and causes of action, suits, debts, dies, sums of
               money, accounts, reckonings, bonds, bills, specialties, covenants, contracts, controversies
               agreements, promises, variances, trespasses, damages, judgments, executions of claims,
               claims and demands, whatsoever latent or patent, in law or in equity, whether known or
               unknown, mature or unmature, arising from, related to or in connection with the Transfers
               made by the Debtor to Defendants.

        6.     Waiver of 502(h). Defendants hereby waive any rights under Section 502(h) of the Code to
               file a proof of claim (or to increase the amount set forth in an existing proof of claim) in the
               amount of the Claims waived and released by this Settlement Agreement.

        7.     Waiver of Terms. A waiver of any term or condition of this Settlement Agreement will not
               be deemed to be, and may not be construed as, a waiver of any other term or condition
               hereof.

        8.     No Admission of Liability. Each of the Parties acknowledge this Settlement Agreement is
               a compromise of a disputed claim and is not intended to be construed as an admission of
               any liability by either Party.

        9.     Entire Agreement. This Settlement Agreement constitutes the complete understanding
               between the Parties and it cannot be altered, amended, or modified in any respect, except
               by a writing duly executed by both Parties.

        10.    Voluntary Act. Each of the Parties does hereby warrant, with respect to itself only, that it
               is authorized and empowered to execute this Settlement Agreement. The Parties
               acknowledge that they have read this Settlement Agreement in its entirety, fully understood
               its terms, and voluntarily accepted the terms set forth herein. Further, each Party
               acknowledges that it has had an opportunity to consult with legal counsel and any other
               advisers of its choice with respect to the terms of this Settlement Agreement and it is
               signing this Settlement Agreement of its own free will.

        11.    Attorneys’ Fees. Each Party shall bear its own attorneys’ fees and costs relating to the
               Transfers settlement negotiations and the negotiation and execution of this Settlement
               Agreement. However, if either Party must commence an action to enforce the terms of this
               Settlement Agreement, other than seeking an approval order, the prevailing party shall be
               entitled to an award, in addition to any other claims or damages, of its costs and expenses
               including attorneys’ fees, in connection with said enforcement action.

        12.    No Assignment. Each Party hereby represents and warrants to the other Party that it has
               made no assignment, and hereafter will make no assignment of any claim, cause in action,
               right of action, or any other right released pursuant to this Settlement Agreement.

        13.    Headings. The various headings used in this Settlement Agreement are solely for the
               convenience of the Parties and shall not be used to interpret this Settlement Agreement and
               are inserted only as a manner of convenience and in no way define, limit, extend, or
               describe the scope of this Settlement Agreement or the intent of any provision thereof.



4840-9715-9008.1                                           3
        Case 16-40271-can11         Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54               Desc
                                           Exhibit A Page 5 of 10

        14.    Governing Law. This Settlement Agreement shall be construed and interpreted in
               accordance with the internal laws of the State of Texas, without regard to its choice of law
               rules.

        15.    Severability. Whenever possible, each provision of this Settlement Agreement shall be
               interpreted in such manner as to be effective and valid under applicable law, but if any
               provision of this Settlement Agreement is held to be prohibited by or invalid under
               applicable law, such provision will be ineffective only to the extent of such prohibition or
               invalidity, without invalidating the remainder of such provision or the remaining provisions
               of this Settlement Agreement.

        16.    Notice. Notice under this Settlement Agreement shall be given by email or overnight
               delivery as follows:


                        If to the Liquidating Trust:

                        Foley & Lardner LLP
                        Attn: Thomas C. Scannell
                        2021 McKinney Avenue, Suite 1600
                        Dallas, TX 75201
                        214-999-4289
                        tscannell@foley.com

                        and

                        HOLDER LAW
                        Attn: Areya Holder Aurzada
                        901 Main Street, Suite 5320
                        Dallas, TX 75202
                        972-438-8800
                        areya@holderlawpc.com

                        If to any of the Defendants:

                        Sidley Austin LLP
                        Attn: Michael Fishel
                        1000 Louisiana St., Suite 6000
                        Houston, TX 77002
                        713-495-4645
                        mfishel@sidley.com

                        and

                        Forum Energy Technologies Inc.
                        Attn: John C. Ivascu
                        920 Memorial City Way
                        Suite 1000
                        Houston, Texas 77024
                        281-949-2541

4840-9715-9008.1                                         4
        Case 16-40271-can11            Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54           Desc
                                              Exhibit A Page 6 of 10

                          John.Ivascu@f-e-t.com

        17.    Execution in Counterparts. It is understood and agreed that this Settlement Agreement may
               be executed in identical counterparts and may be transmitted by email or facsimile, each of
               which shall be deemed an original for all purposes.

                   IN WITNESS WHEREOF, the Parties have caused this Settlement Agreement to be

        executed as of ____________________, 2018.

        For Trust:
                   Liquidating Trust

                   By: _________________________________________________
                   Areya Holder Aurzada
                   Liquidating Trustee of the Liquidating Trust



        For Defendants:

        Forum US, Inc.

                   By:                                  _________________________________________
                   James W. Harris ____________________________________
                   President
        Forum Energy Technologies, Inc. dba Forum Valve Solutions

                   By:                                  _________________________________________
                   James W. Harris ____________________________________
                   President




4840-9715-9008.1                                           5
        Case 16-40271-can11    Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54      Desc
                                      Exhibit A Page 7 of 10

                                                Exhibit A



                              Transfers Settled by this Settlement Agreement
                                Forum US, Inc. (ABZ Valves & Controls)

                          Recipient           Transfer    Transfer         Amount
                                               Type         Date           ($USD)
                       Forum US, Inc.          Debit     11/13/2015         524.25
                   (ABZ Valves & Controls)

                       Forum US, Inc.           Debit    11/18/2015       12,800.10
                   (ABZ Valves & Controls)




                       Forum US, Inc.           Debit    11/19/2015        5,214.55
                   (ABZ Valves & Controls)




                       Forum US, Inc.           Debit    11/25/2015        5,297.04
                   (ABZ Valves & Controls)




                       Forum US, Inc.           Debit    11/25/2015        3,959.22
                   (ABZ Valves & Controls)
                       Forum US, Inc.           Debit       12/2/2015     100,000.00
                   (ABZ Valves & Controls)


                       Forum US, Inc.           Debit       12/8/2015      9,551.86
                   (ABZ Valves & Controls)


                       Forum US, Inc.           Debit       12/9/2015      1,144.00
                   (ABZ Valves & Controls)

                       Forum US, Inc.           Debit    12/10/2015        1,329.75
                   (ABZ Valves & Controls)

                       Forum US, Inc.           Debit    12/11/2015        3,010.55
                   (ABZ Valves & Controls)

                       Forum US, Inc.           Debit    12/15/2015        5,507.40
                   (ABZ Valves & Controls)

4840-9715-9008.1                                    6
        Case 16-40271-can11    Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54   Desc
                                      Exhibit A Page 8 of 10



                       Forum US, Inc.        Debit   12/16/2015     968.59
                   (ABZ Valves & Controls)


                       Forum US, Inc.        Debit   12/17/2015     598.95
                   (ABZ Valves & Controls)

                       Forum US, Inc.        Debit   12/31/2015     343.19
                   (ABZ Valves & Controls)


                       Forum US, Inc.        Debit   1/11/2016     85,821.54
                   (ABZ Valves & Controls)

                       Forum US, Inc.        Debit   1/15/2016     2,747.25
                   (ABZ Valves & Controls)

                       Forum US, Inc.        Debit   1/19/2016      217.10
                   (ABZ Valves & Controls)

                       Forum US, Inc.        Debit   1/19/2016       86.00
                   (ABZ Valves & Controls)

                       Forum US, Inc.        Debit    2/4/2016     2,998.05
                   (ABZ Valves & Controls)

                          TOTAL                                   $242,119.39




4840-9715-9008.1                                 7
        Case 16-40271-can11    Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54       Desc
                                      Exhibit A Page 9 of 10
                                              Exhibit B

                              Transfers Settled by this Settlement Agreement
                                 Valve Solutions (Forum Valve Solutions)

                          Recipient           Transfer    Transfer         Amount
                                               Type         Date           ($USD)

                    Valve Solutions (Forum      Debit    11/13/2015       15,421.88
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    11/19/2015        6,474.47
                       Valve Solutions)

                    Valve Solutions (Forum      Debit    11/20/2015       33,629.31
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    11/25/2015        2,921.20
                       Valve Solutions)
                    Valve Solutions (Forum      Debit     12/2/2015       41,495.72
                       Valve Solutions)

                    Valve Solutions (Forum      Debit     12/2/2015       23,998.20
                       Valve Solutions)
                    Valve Solutions (Forum      Debit     12/3/2015        2,866.00
                       Valve Solutions)

                    Valve Solutions (Forum      Debit     12/4/2015       23,396.08
                       Valve Solutions)

                    Valve Solutions (Forum      Debit     12/7/2015       12,864.40
                       Valve Solutions)
                    Valve Solutions (Forum      Debit     12/8/2015            430.20
                       Valve Solutions)
                    Valve Solutions (Forum      Debit     12/8/2015            192.44
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    12/10/2015            834.61
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    12/11/2015            580.11
                       Valve Solutions)

                    Valve Solutions (Forum      Debit    12/15/2015       11,749.00
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    12/15/2015        8,082.00
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    12/16/2015            677.12
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    12/17/2015       18,360.00
                       Valve Solutions)
                    Valve Solutions (Forum      Debit    12/18/2015       44,016.57
                       Valve Solutions)

                    Valve Solutions (Forum      Debit    12/18/2015            656.00
                       Valve Solutions)



4840-9715-9008.1                                    8
        Case 16-40271-can11    Doc 890-1 Filed 04/16/18 Entered 04/16/18 18:09:54   Desc
                                     Exhibit A Page 10 of 10




                    Valve Solutions (Forum   Debit   12/31/2015      72.00
                       Valve Solutions)
                    Valve Solutions (Forum   Debit   1/13/2016      837.00
                       Valve Solutions)
                    Valve Solutions (Forum   Debit   1/15/2016     19,696.62
                       Valve Solutions)

                    Valve Solutions (Forum   Debit   1/19/2016     4,440.00
                       Valve Solutions)
                    Valve Solutions (Forum   Debit   1/19/2016     1,777.23
                       Valve Solutions)
                    Valve Solutions (Forum   Debit   1/19/2016     2,595.28
                       Valve Solutions)
                    Valve Solutions (Forum   Debit   1/19/2016      468.00
                       Valve Solutions)
                    Valve Solutions (Forum   Debit   1/20/2016      156.00
                       Valve Solutions)
                    Valve Solutions (Forum   Debit   1/29/2016     16,301.71
                       Valve Solutions)
                    Valve Solutions (Forum   Debit    2/1/2016      272.55
                       Valve Solutions)
                    Valve Solutions (Forum   Debit    2/2/2016     3,515.60
                       Valve Solutions)
                    Valve Solutions (Forum   Debit    2/2/2016     1,334.96
                       Valve Solutions)
                    Valve Solutions (Forum   Debit    2/4/2016     1,991.21
                       Valve Solutions)
                           TOTAL                                  $302,103.47




4840-9715-9008.1                                 9
